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                                 #:16520




                 Exhibit 1
Case 2:22-cv-04355-JFW-JEM Document 200-2 Filed 04/05/23 Page 2 of 13 Page ID
                      CONFIDENTIAL#:16521
                                    - ATTORNEYS' EYES ONLY

 1                   UNITED STATES DISTRICT COURT
 2                  CENTRAL DISTRICT OF CALIFORNIA
 3                         WESTERN DIVISION
 4        _________________________________
                                            )
 5        YUGA LABS, INC.,                  )CASE NO.:
                                            )
 6                          Plaintiff,      )2:18-cv-00514-
                                            )ACA'22-cv-04355-
 7                  v.                      )JFW-JEM
                                            )
 8        RYDER RIPPS, JEREMY CAHEN, DOES )
          1-10,                             )
 9                                          )
                            Defendants.     )
10                                          )
          _________________________________)
11
12
13             ** THIS TRANSCRIPT IS MARKED CONFIDENTIAL -
14                       ATTORNEYS' EYES ONLY **
15
16
17                         DEPOSITION OF RYDER RIPPS
18                                 VOLUME I
19                          LOS ANGELES, CALIFORNIA
20                        THURSDAY, JANUARY 12, 2023
21
22
23
24        REPORTED BY:       NATALIE PARVIZI-AZAD, CSR, RPR, RSR
                             CSR NO. 14125
25        JOB NO.:           5613911

                                                                 Page 1

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 1                      UNITED STATES DISTRICT COURT
 2                     CENTRAL DISTRICT OF CALIFORNIA
 3                              WESTERN DIVISION
 4
          _________________________________
 5                                                        )
          YUGA LABS, INC.,                                )CASE NO.:
 6                                                        )
                                 Plaintiff,               )2:18-cv-00514-
 7                                                        )ACA'22-cv-04355-
                       v.                                 )JFW-JEM
 8                                                        )
          RYDER RIPPS, JEREMY CAHEN, DOES                 )
 9        1-10,                                           )
                                                          )
10                               Defendants.              )
          _________________________________)
11
12
13
14
15            DEPOSITION OF RYDER RIPPS, VOLUME I
16            TAKEN ON BEHALF OF THE PLAINTIFF
17            IN LOS ANGELES, CALIFORNIA, BEGINNING AT
18            9:07 A.M. AND ENDING AT 6:19 P.M., ON
19            THURSDAY, JANUARY 12, 2023, BEFORE
20            NATALIE PARVIZI-AZAD, CERTIFIED SHORTHAND
21            REPORTER NUMBER 14125.
22
23
24
25

                                                                     Page 2

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 1                              A P P E A R A N C E S
 2
 3         FOR THE PLAINTIFF, YUGA LABS, INC.:
 4             FENWICK & WEST, LLP
               BY: ERIC BALL, ESQ.
 5             BY: ANTHONY FARES, ESQ.
               801 CALIFORNIA STREET
 6             MOUNTAIN VIEW, CALIFORNIA 94041
               (650) 988-8500
 7             EBALL@FENWICK.COM
               AFARES@FENWICK.COM
 8
 9         FOR THE DEFENDANTS, RYDER RIPPS, JEREMY CAHEN,
           DOES 1-10:
10
                WILMER CUTLER PICKERING HALE AND DORR
11              BY: LOUIS TOMPROS, ESQ.
                60 STATE STREET
12              BOSTON, MASSACHUSETTS 02109
                (617) 526-6886
13              LOUIS.TOMPROS@WILMERHALE.COM
14
15         ALSO PRESENT:
16             RICHARD SMITH, VIDEOGRAPHER;
17             JEREMY CAHEN, DEFENDANT
18
19
20
21
22
23
24
25

                                                                 Page 3

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 1                                    I N D E X
 2
 3        WITNESS                                                    PAGE
 4        RYDER RIPPS
 5                EXAMINATION BY MR. BALL                            10
 6
 7                               E X H I B I T S
 8        EXHIBIT NO.          DESCRIPTION                           PAGE
 9        EXHIBIT 111          CHAT EXCHANGE; 4 PAGES                18
10        EXHIBIT 112          CHAT WITH FIT BINEX;                  30
                               BATES RIPPSCAHEN00002273
11
          EXHIBIT 32           CHAT EXCHANGE DATED                   32
12        PREVIOUSLY           MAY 23, 2022;
          MARKED               ONE PAGE
13
          EXHIBIT 113          CHAT EXCHANGE DATED                   41
14                             MAY 23, 2022; ONE PAGE;
                               BATES R1PP5CAHEN00002548
15
          EXHIBIT 114          CHAT EXCHANGE DATED                   42
16                             JUNE 9, 2022;
                               ONE PAGE
17
          EXHIBIT 60           CHAT EXCHANGE DATED                   44
18        PREVIOUSLY           JUNE 1, 2022;
          MARKED               ONE PAGE
19
          EXHIBIT 115          RYDER RIPPS'S SECOND                  52
20                             SUPPLEMENTAL RESPONSES
                               TO YUGA LABS, INC.'S FIRST
21                             SET OF INTERROGATORIES
                               TO RYDER RIPPS (NOS. 1-17)
22
          EXHIBIT 116          EXHIBIT A FILED 06/24/22;             58
23                             FIVE PAGES
24        EXHIBIT 28           SCREENSHOT OF FOUNDATION              69
          PREVIOUSLY           PAGE FOR RYDER RIPPS/BORED
25        MARKED               APE YACHT CLUB

                                                                 Page 4

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 1                               E X H I B I T S
 2        EXHIBIT NO.          DESCRIPTION                           PAGE
 3        EXHIBIT 53           CONVERSATION EXCHANGE                 84
          PREVIOUSLY
 4        MARKED
 5        EXHIBIT 117          WEB ARCHIVE CAPTURED AT:              92
                               01105/2023;
 6                             FIVE PAGES
 7        EXHIBIT 118          CAPTURE OF THE WEBSITE                102
                               ETHERSCAN.IO;
 8                             TWO PAGES
 9        EXHIBIT 119          TWEET FROM RYDER RIPPS                126
                               DATED DECEMBER 6, 2021;
10                             ONE PAGE
11        EXHIBIT 120          APE #8774 MINTED ON                   128
                               DECEMBER 6, 2021;
12                             TWO PAGES
13        EXHIBIT 121          EXCEL SCREENSHOT;                     134
                               BATES RIPPSCAHEN0000001
14
          EXHIBIT 122          TWEET EXCHANGE DATED                  142
15                             MAY 13, 2022;
                               ONE PAGE
16
          EXHIBIT 123          TWEET DATED                           143
17                             DECEMBER 6, 2021;
                               TWO PAGES
18
          EXHIBIT 124          CAPTURED AT 2022111106                145
19                             03:50 PM URL
                               HTTPS://RRBAYC.COM;
20                             FIVE PAGES;
                               BATES YUGALABS_00013749 -
21                             1974
22        EXHIBIT 37           CHAT EXCHANGE DATED                   151
          PREVIOUSLY           MAY 21, 2022;
23        MARKED               ONE PAGE
24        EXHIBIT 38           CHAT EXCHANGE BEGINNING               166
          PREVIOUSLY           TIME 9:55;
25        MARKED               TWO PAGES

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 1                             E X H I B I T S
 2        EXHIBIT NO.        DESCRIPTION                         PAGE
 3        EXHIBIT 125        @CLAIRE0X MESSAGES WITH             167
                             RYDER RIPPS;
 4                           ONE PAGE;
                             BATES RIPPSCAHEN00002I58
 5
          EXHIBIT 126        CHAT EXCHANGE DATED                 170
 6                           MAY 20;
                             FOUR PAGES;
 7                           BATES RIPPSCAHEN00001289
 8        EXHIBIT 40         CHAT EXCHANGE DATED                 177
          PREVIOUSLY         MAY 22, 2022;
 9        MARKED             THREE PAGES
10        EXHIBIT 127        CHAT EXCHANGE BEGINNING             186
                             TIME 20:19;
11                           ONE PAGE
12        EXHIBIT 128        TWEET DATED MAY 16, 2022;           195
                             ONE PAGE
13
          EXHIBIT 99         CHAT EXCHANGE BEGINNING             199
14        PREVIOUSLY         TIME 19:52;
          MARKED             TWO PAGES
15
          EXHIBIT 101        CHAT EXCHANGE BEGINNING             206
16        PREVIOUSLY         TIME 14:82;
          MARKED             SEVEN PAGES
17
          EXHIBIT 64         CHAT EXCHANGE DATED                 212
18        PREVIOUSLY         MAY 19, 2022;
          MARKED             TWO PAGES
19
          EXHIBIT 129        CHAT EXCHANGE BEGINNING             215
20                           TIME 17:21;
                             ONE PAGE
21
          EXHIBIT 130        CHAT EXCHANGE DATED                 226
22                           JUNE 8, 2022;
                             TWO PAGES; BATES
23                           RIPPSCAHEN000027I2 -
                             RIPPSCAHEN000027I3
24
          EXHIBIT 131        TWEET DATED MAY 16, 2022;           231
25                           ONE PAGE

                                                                  Page 6

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 1                               E X H I B I T S
 2        EXHIBIT NO.          DESCRIPTION                           PAGE
 3        EXHIBIT 103          PROFIT CALCULATIONS OF                234
          PREVIOUSLY           MR. RYDER RIPPS FROM
 4        MARKED               NFT SALES
 5        EXHIBIT 7            DOCUMENT WHEREIN                      243
          PREVIOUSLY           MR. HICKMAN STATES
 6        MARKED               RECEIVING 158.28 ETH
 7        EXHIBIT 132          RYDER RIPPS TWITTER PAGE;             265
                               FOUR PAGES; BATES
 8                             YUGALABS_00000547
 9        EXHIBIT 133          MESSAGES WITH "DO THE MATH";          266
                               ONE PAGE;
10                             BATES RIPPSCAHEN00002I74
11        EXHIBIT 134          CHAT EXCHANGE DATED                   274
                               MAY 31, 2022;
12                             ONE PAGE
13        EXHIBIT 135          CHAT EXCHANGE WITH X2Y2;              280
                               ONE PAGE;
14                             BATES R1PP5CAHEN00002186
15        EXHIBIT 136          LOOKS RARE PAGE, CAPTURED             286
                               AT: 01/0512023;
16                             ONE PAGE
17        EXHIBIT 137          LOOKS RARE WEB ARCHIVE;               289
                               SIX PAGES
18
          EXHIBIT 138          NFTX WEBSITE FEATURING                294
19                             THE RR/BAYC NFTS;
                               ONE PAGE;
20                             BATES YUGALABS_00000653
21        EXHIBIT 139          EXCEL SCREENSHOT;                     296
                               12 PAGES;
22                             BATES RIPPSCAHEN00000001
23
24
25

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 1                         LOS ANGELES, CALIFORNIA

 2              THURSDAY, JANUARY 12, 2023, 9:07 A.M.

 3

 4                   THE VIDEOGRAPHER:      Good morning.       We're   09:07:02

 5        going on the record.     The time is now 9:07 a.m.            09:07:01

 6        Please note that the microphones are sensitive and            09:07:07

 7        may pick up whispering and private conversations.             09:07:09

 8        The video recording will continue to take place               09:07:13

 9        unless all parties agree to go off the record.                09:07:16

10                   This is media unit number 1 of the                 09:07:18

11        video-recorded deposition of Mr. Ryder Ripps being            09:07:21

12        taken by the counsel for the plaintiff in the matter          09:07:25

13        of "Yuga Labs, Incorporated, versus Ryder Ripps and           09:07:28

14        Jeremy Cahen."     The deposition is filed in the U.S.        09:07:33

15        District Court for the Central District of                    09:07:36

16        California, docket number 2:22-cv-04355-JFW-JEM.              09:07:37

17        Deposition is taking place at Veritext Century City           09:07:51

18        located at 2490 Century Park East, Suite 2480.                09:07:56

19                   My name is Richard Smith.        I'm the           09:07:58

20        videographer.     I represent Veritext Legal Solutions.       09:08:01

21        Court reporter today, Ms. Natalie Parvizi, also               09:08:04

22        represents Veritext Legal Solutions.                          09:08:08

23                   I am not related to any party in this              09:08:11

24        action, nor am I financially interested in the                09:08:13

25        outcome.   If there are any objections to the                 09:08:16

                                                                         Page 8

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  1        proceeding, please state them at the time of your                 09:08:18

  2        appearance.    And we'll begin with the noticing                  09:08:20

  3        attorney.                                                         09:08:23

  4                    MR. BALL:     Eric Ball from Fenwick & West           09:08:23

  5        on behalf of Yuga Labs.       I'm here with my colleague          09:08:26

  6        Anthony Fares.                                                    09:08:29

  7                    MR. TOMPROS:     Good morning.       Louis Tompros    09:08:31

  8        of Wilmer Cutler Pickering Hale & Door, LLP.              Here    09:08:33

  9        on behalf of defendants Ryder Ripps and                           09:08:36

 10        Jeremy Cahen, and Mr. Cahen is also present here for              09:08:41

 11        this deposition.                                                  09:08:43

 12                    THE VIDEOGRAPHER:       Thank you.       If I could   09:08:44

 13        have the court reporter please swear in the witness.              09:08:45

 14                    THE CERTIFIED STENOGRAPHER:          Please raise

 15        your right hand to be sworn.

 16

 17                                RYDER RIPPS,

 18         having declared under penalty of perjury to tell

 19         the truth, was examined and testified as follows:

 20                                                                          09:09:00

 21                    MR. TOMPROS:     Just before we begin, I'd            09:09:00

 22        like to reserve the right to read and sign for                    09:09:02

 23        Mr. Ripps and confirm that communications during the              09:09:04

 24        breaks are protected by the attorney-client                       09:09:07

 25        privilege pursuant to the agreement of counsel at a               09:09:09

                                                                              Page 9

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  1        you normally talk with Mr. Cahen via phone these            17:38:47

  2        days; is that correct?                                      17:38:51

  3             A.      Yeah, I would say that's correct.              17:38:53

  4             Q.      Do you have any written communications         17:38:55

  5        with Mr. Cahen after July 27th, 2022?                       17:38:58

  6             A.      July 27th -- probably a few here and           17:39:01

  7        there.     Call me, stuff like that.                        17:39:08

  8             Q.      Did you have any Discord communications        17:39:10

  9        with him after July 27th, 2022?                             17:39:13

 10             A.      I don't remember.    And, to be honest, like   17:39:16

 11        I said in earlier things, I really don't like               17:39:16

 12        Discord.     I don't log in to it a lot, and I don't --     17:39:19

 13        it's not something that I regularly use at all for          17:39:22

 14        anything.                                                   17:39:25

 15             Q.      But you've had --                              17:39:26

 16                     MR. TOMPROS:   Sorry.   Slow down --           17:39:26

 17                     THE WITNESS:   I'm sorry.                      17:39:26

 18                     MR. TOMPROS:   -- kill our court reporter      17:39:28

 19        at the end of the day.                                      17:39:30

 20             Q.      You've had some written communications         17:39:31

 21        with Mr. Cahen after July 7th [sic], 2022?                  17:39:32

 22             A.      Some written communications...                 17:39:34

 23                     Have I ever written, like, in a text           17:39:36

 24        message to Jeremy anything?       It's totally possible     17:39:37

 25        that I had a few written communications with him.           17:39:43

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 1                  CERTIFIED STENOGRAPHER'S CERTIFICATE

 2        STATE OF CALIFORNIA          )

                                       ) SS.

 3        COUNTY OF LOS ANGELES        )

 4

 5                  I, NATALIE PARVIZI-AZAD, HERBY CERTIFY:

 6                  I AM A DULY QUALIFIED CERTIFIED SHORTHAND

 7          REPORTER IN THE STATE OF CALIFORNIA, HOLDER OF

 8          CERTIFICATE NUMBER CSR 14125 ISSUED BY THE COURT

 9          REPORTERS BOARD OF CALIFORNIA AND WHICH IS IN FULL

10          FORCE AND EFFECT.       (BUS. & PROF. § 8016)

11                  I AM NOT FINANCIALLY INTERESTED IN THIS

12          ACTION AND NOT A RELATIVE OR EMPLOYEE OF ANY

13          ATTORNEY OF THE PARTIES, OR OF ANY OF THE PARTIES.

14          (CIV. PROC. § 2025.320(A))

15                  I AM AUTHORIZED TO ADMINISTER OATHS OR

16          AFFIRMATIONS PURSUANT TO CALIFORNIA CODE OF CIVIL

17          PROCEDURE, SECTION 2093 (B) AND PRIOR TO BEING

18          EXAMINED, THE DEPONENT WAS FIRST PLACED UNDER ETH OR

19          AFFIRMATION BY ME.      (CIV. PROC. §§ 2025.320,

20          2025.540(A))

21                  I AM THE CERTIFIED OFFICER THAT

22          STENOGRAPHICALLY RECORDED THE TESTIMONY IN THE

23          FOREGOING PROCEEDING AND THE FOREGOING TRANSCRIPT IS

24          A TRUE RECORD OF THE TESTIMONY GIVEN.          (CIV. PROC. §

25          2025.540(A))

                                                                Page 303

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 1                   I HAVE NOT, AND SHALL NOT, OFFER OR PROVIDE

 2          ANY SERVICES OR PRODUCTS TO ANY PARTY'S ATTORNEY OR

 3          THIRD PARTY WHO IS FINANCING ALL OR PART OF THE

 4          ACTION WITHOUT FIRST OFFERING SAME TO ALL PARTIES OR

 5          THEIR ATTORNEYS ATTENDING THE PROCEEDING AND MAKING

 6          SAME AVAILABLE AT THE SAME TIME TO ALL PARTIES OR

 7          THEIR ATTORNEYS.     (CIV. PROC § 2025.320(B))

 8                   I SHALL NOT PROVIDE ANY SERVICE OR PRODUCT

 9          CONSISTING OF THE CERTIFIED STENOGRAPHER'S NOTATIONS

10          OR COMMENTS REGARDING THE DEMEANOR OF ANY WITNESS,

11          ATTORNEY, OR PARTY PRESENT AT THE PROCEEDING TO ANY

12          PARTY OR ANY PARTY'S ATTORNEY OR THIRD PARTY WHO IS

13          FINANCING ALL OR PART OF THE ACTION, NOR SHALL I

14          COLLECT ANY PERSONAL IDENTIFYING INFORMATION ABOUT

15          THE WITNESS AS A SERVICE OR PRODUCT TO BE PROVIDED

16          TO ANY PARTY OR THIRD PARTY WHO IS FINANCING ALL OR

17          PART OF THE ACTION.      (CIV. PROC. § 2025.320(C))

18

19          DATED:    February 2, 2023

20

21

22                          <%21159,Signature%>

                            NATALIE PARVIZI-AZAD, CSR NO.14125

23

24

25

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